Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 1 of 11




                      In the Matter of:

                          MyEx.com

                       March 28, 2017
                       Aniello Infante




                 Condensed Transcript with Word Index




                   For The Record, Inc.
      (301) 870-8025 - www.ftrinc.net - (800) 921-5555
            Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 2 of 11
                                                                  Infante
MyEx.com                                                                                                                     3/28/2017
                                                                  1                                                                       3
  1                      FEDERAL TRADE COMMISSION                       1                                I N D E X
  2                             I N D E X                               2
  3                                                                     3   EXHIBITS                 DESCRIPTION                   FOR ID
  4   WITNESS:                                       EXAMINATION:
                                                                        4   Number 27           Chase Statement Acct.                86
  5   ANIELLO INFANTE
  6        BY MS. COX                                         4                                           December 2011
  7                                                                     5
  8   EXHIBITS               DESCRIPTION               FOR ID               Number 28           Chase Statement Acct.                90
  9   Number 1          Civil Investigation Demand       10             6                                 January 2012
 10   Number 2          Infante's responses to CID       33             7   Number 29           Chase Statement Acct.                92
 11   Number 3          NV Sec. of State records         40
                                                                                                          March 2012
                        regarding EMP Media, Inc.
 12                                                                     8
      Number 4          NV Sec. of State EMP Media       42                 Number 30           CitiBank Account Transactions        93
 13                     Articles of Incorporation                       9
 14   Number 5          Landing page for MyEx.com        47                 Number 31           CitiBank Account Transactions        94
                        from 12/11/12                                  10
 15                                                                         Number 32           CitiBank Account Transactions        96
      Number 6          MyEx.com Privacy Policy          47
 16                                                                    11
      Number 7          MyEx.com Terms of Use            49            12   EXHIBITS RETAINED BY MS. COX
 17                                                                    13
      Number 8          MyEx.com Removal Policy          51            14
 18                     from 2013                                      15
 19   Number 9          Reputationprotector.com          52
                                                                       16
                        document
 20                                                                    17
      Number 10         Add Your Ex form from 9/30/12    55            18
 21                                                                    19
      Number 11         Complaint, Lipson vs. EMP        56            20
 22                     Media, Inc., et al                             21
 23   Number 12         Complaint, Righthaven vs.        57
                                                                       22
                        EMP Media, Inc., et al
 24                                                                    23
      Number 13         EMP Bank Acct.                 65              24
 25                     documents regarding opening of account         25


                                                                  2                                                                       4
  1                     FEDERAL TRADE COMMISSION                        1                      FEDERAL TRADE COMMISSION
  2                            I N D E X
                                                                        2
  3
  4   EXHIBITS               DESCRIPTION               FOR ID           3
  5   Number 14         EMP Bank Acct.                   66
                                                                        4   IN THE MATTER OF            )    Matter No.
                        Statement May 2014
  6                                                                     5   MYEX.COM                    )    1623052
      Number 15         EMP Bank Account                 67
                                                                        6   ---------------------------)
  7                     Statement July 2014
  8   Number 16         EMP Bank Account                 68             7
                        Statement September 2014
  9                                                                     8
      Number 17         EMP Bank Account                 69             9                          Tuesday, March 28, 2017
 10                     Statement October 2014
 11   Number 18         EMP Bank Account                 71            10
                        Statement January 2015                         11                          Office of John B. Juhasz, Esquire
 12
      Number 19         Chase Bank Acct.               73              12                          7081 West Boulevard
 13                     for EMP Media Opening Documents                13                          Suite 4
 14   Number 20         Chase Bank Cashier's Check for 74
                        $2,000 to Franklin Blair Title Agency          14                          Youngstown, Ohio    44512
 15                                                                    15
      Number 21         Chase Acct. Withdrawal for       75
 16                     $500 to Infante                                16              The above-entitled matter came on for
 17   Number 22         Chase Acct. withdrawal to        76            17   investigational hearing, pursuant to notice, at 10:00 a.m.
                        EMP Media
 18                                                                    18
      Number 23         Chase Acct.                      82            19
 19                     Documents
 20   Number 24         Chase Statement Acct.            84            20
                                  February 2011                        21
 21
      Number 25         Chase Statement Acct.            84            22
 22                               March 2011                           23
 23   Number 26         Chase Statement Acct.            85
                                  June 2011                            24
 24                                                                    25
 25                     FEDERAL TRADE COMMISSION


                                                                                                                          1 (Pages 1 to 4)
                                           For The Record, Inc.
                              (301) 870-8025 - www.ftrinc.net - (800) 921-5555
          Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 3 of 11
                                                             Infante
MyEx.com                                                                                                           3/28/2017
                                                              5                                                                 7
  1   APPEARANCES:                                                  1   outlined in the Commission's Rules of Practice,
  2                                                                 2   specifically Part 2, nonajudicative procedures, subpart A,
  3   ON BEHALF OF THE FEDERAL TRADE COMMISSION:                    3   which pertains to investigations and investigational
  4      Megan E. Cox, Attorney                                     4   hearings, beginning with Sections 2.1 through 2.14. The
  5      Allison M. Lefrak, Attorney                                5   attention of counsel is invited to Section 2.9 of these
  6      Federal Trade Commission                                   6   rules, which provide that any person compelled to appear
  7      600 Pennsylvania Avenue, NW                                7   and testify or produce documentary evidence may be
  8      Washington, DC 20580                                       8   accompanied, represented, and advised by counsel according
  9      (202) 326-2282                                             9   to the Federal Trade Commission rules. Representation by
 10      (202) 326-2804                                            10   counsel in this hearing will be in accordance with the
 11      mcox1@ftc.gov                                             11   rules as prescribed by Section 2.9, Subparts B1 through
 12      alefrak@ftc.gov                                           12   B5.
 13                                                                13       I'm here today to speak with -- I'm here to speak
 14                                                                14   with you today about the topics outlined in the Civil
 15   ON BEHALF OF ANIELLO INFANTE:                                15   Investigative Demand that I've marked here as Exhibit 1 in
 16      John B. Juhasz, Attorney                                  16   this proceeding. In order to facilitate reference during
 17      7081 West Boulevard                                       17   the hearing, I request copies of the Commission's
 18      Suite 4                                                   18   resolution form of compulsory process specifications to
 19      Youngstown, Ohio 44512                                    19   Mr. Infante be placed into the record as Commission's
 20      (330) 758-7700                                            20   Exhibit 1. I would add that all exhibits submitted in the
 21                                                                21   course of this hearing will be retained for copying
 22                                                                22   purposes by Commission counsel and are not the
 23                                                                23   responsibility of the reporter.
 24                                                                24       Now, I have a few preliminary instructions and
 25                                                                25   questions for you. Please state your full name for the


                                                              6                                                                 8
  1               PROCEEDINGS                                       1   record.
  2               - - - - -                                         2      A. Aniello Infante.
  3   Whereupon--                                                   3      Q. Are you represented by counsel today?
  4                ANIELLO NEIL INFANTE                             4      A. Yes.
  5   a witness, called for examination, having been first duly     5      Q. And who is that?
  6   sworn, was examined and testified as follows:                 6      A. Attorney John Juhasz.
  7                  EXAMINATION                                    7      Q. Okay. Have you ever had your deposition taken
  8          BY MS. COX                                             8   or given testimony before?
  9      Q. Good morning. I'm Megan Cox, and I'm a staff            9      A. No.
 10   attorney at the Federal Trade Commission in the division     10      Q. Today, I'm going to ask you questions that
 11   of privacy and identity protection. With me today is         11   relate to issues we're investigating about MyEx. Your
 12   Allison Lefrak, also a staff attorney at the FTC. Let the    12   answers will be recorded by our court reporter, who can
 13   record reflect that this proceeding was convened at 10:05    13   only transcribe oral responses. Therefore, it is
 14   a m., March 28th, 2017, at the offices of John Juhasz in     14   important that you respond to my questions orally and not
 15   Youngstown, Ohio. This is a nonpublic proceeding of the      15   with gestures; you understand?
 16   Federal Trade Commission.                                    16      A. Yes.
 17      I represent the Federal Trade Commission. I am here       17      Q. Also, it is important that we not speak over
 18   today for the purpose of gathering information related to    18   one another. Please wait until I have finished asking a
 19   a commission investigation of MyEx.com, which I will refer   19   question before you answer and, likewise, I will do my
 20   to as MyEx during this proceeding. This proceeding           20   best not to interrupt your answers; do you understand?
 21   relates to the Commission's investigation to determine       21      A. Yes.
 22   whether MyEx has engaged or is engaging in any unfair or     22      Q. If you do not understand any question I ask,
 23   deceptive acts or practices in it or affecting commerce in   23   please tell me so that I may explain it or rephrase it; do
 24   violation of the Federal Trade Commission Act.               24   you understand?
 25      The procedures for this investigational hearing are       25      A. Yes.


                                                                                                               2 (Pages 5 to 8)
                                         For The Record, Inc.
                            (301) 870-8025 - www.ftrinc.net - (800) 921-5555
          Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 4 of 11
                                                             Infante
MyEx.com                                                                                                           3/28/2017
                                                              9                                                                11
  1      Q. We will take breaks for the benefit of you and          1      Q. So you received the CID through Fed Ex?
  2   our court reporter. If at any time you would like to take     2      A. Through Fed Ex; correct.
  3   a break, please just let me know, and we will do just         3      Q. Do you understand that this document requires
  4   that. If there is a question pending or if you are in the     4   you to testify here today?
  5   middle of answering a question, I will ask you to finish      5      A. Yes.
  6   answering, and then we'll take a break. Do you                6      Q. Can you please flip to Page 11 of the
  7   understand?                                                   7   specifications and review the specifications for oral
  8      A. Yes.                                                    8   testimony listed on Page 11 to 12, which are the topics on
  9      Q. If at some point later during the                       9   which I'm seeking testimony today.
 10   investigational hearing you remember some information that   10      A. Page 11. Okay.
 11   makes you think a previous answer that you gave is           11      Q. Okay.
 12   incomplete or incorrect, please let me know that you would   12      A. Okay. So -- oh.
 13   like to add something or correct an earlier answer, and we   13      Q. You've had a chance to review the topics?
 14   can do that while the information is fresh in your mind;     14      A. Correct; yes.
 15   do you understand that?                                      15      Q. And now, please turn to review the
 16      A. Yes.                                                   16   interrogatory requests, Pages 6 through 9.
 17      Q. Following the completion of my examination, you        17      A. Okay.
 18   may request to clarify any answers in order that we may --   18      Q. Have you had a chance to review it?
 19   in order that they may not be left equivocal or incomplete   19      A. Yes.
 20   for the record. If when you're answering a question, you     20      Q. Now please turn to Page 1 of the CID form. And
 21   think there might be a document that could help you answer   21   on there, you will see there is a date and time for
 22   the question more completely or accurately, please let me    22   documents and Answers to Interrogatories of September
 23   know. We may have those documents here with us today.        23   12th, 2016. On the front page, I'm sorry.
 24   Will you do that?                                            24      A. Okay. Yes.
 25      A. Yes.                                                   25      Q. Do you see the date of September 12th, 2016 --

                                                             10                                                                12
  1      Q. If you do not know or do not remember the               1       A. Yes.
  2   information necessary to answer a question, please just       2       Q. -- for the documents and answers? Did you
  3   say so. Do you understand?                                    3   produce answers and documents by September 12th, 2016?
  4       A. Yes.                                                   4       A. No, I did not.
  5      Q. Is there any reason that you would not be able          5       Q. And did you receive letters from the Commission
  6   to testify completely, truthfully, and accurately today?      6   stating you were not in compliance with the CID?
  7       A. No.                                                    7       A. No. Or, I'm sorry, can you repeat the
  8      Q. Such as taking any medications that might               8   question?
  9   impair your senses?                                           9       Q. Did you receive letters from myself, staff at
 10       A. No.                                                   10   the Federal Trade Commission stating that you were not in
 11      Q. Thank you. I've handed you a document that has         11   compliance with the Civil Investigative Demand?
 12   been marked as Exhibit 1, and please note that the           12       A. Yes.
 13   exhibits are two-sided when you're flipping through it.      13       Q. And that it would be enforced through our
 14       A. Okay.                                                 14   Office of General Counsel?
 15      Q. I'll represent that Exhibit 1 is the Civil             15       A. Yes.
 16   Investigative Demand issued to you, Aniello Neil Infante,    16       Q. And did you learn of our enforcement action in
 17   by the FTC in the Commission's investigation. Please take    17   federal court in this matter?
 18   a moment to review the document.                             18       A. Yes.
 19       A. These are same.                                       19       Q. How did you learn of the Commission's filed
 20      Q. Have you seen the document marked as Exhibit 1         20   enforcement action?
 21   before?                                                      21       A. Actually by -- just by a news article, a news
 22       A. Yes.                                                  22   article I saw on WFMJ.com.
 23      Q. When?                                                  23       Q. And how did you find the news article? You
 24       A. When you first mailed them out to me back in, I       24   were just reading the news?
 25   want to say, August.                                         25       A. Yeah, I read, you know, WFMJ, just looking


                                                                                                              3 (Pages 9 to 12)
                                         For The Record, Inc.
                            (301) 870-8025 - www.ftrinc.net - (800) 921-5555
          Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 5 of 11
                                                           Infante
MyEx.com                                                                                                         3/28/2017
                                                           13                                                                15
  1   through that, and I saw, you know, feds want Austintown     1   a bartender. That was in between, I'm sorry, Cleveland
  2   man. And it was me, my name. So --                          2   Clinic and General Motors in 1997.
  3      Q. And so in response to that, you were in touch         3       Q. And were you previously employed at EMP Media,
  4   with the Commission, and you did produce your               4   Inc.?
  5   interrogatory responses; correct?                           5       A. Well, in '08. That's when I was put on the
  6      A. Correct. Then I hired an attorney, Attorney           6   corporation as -- as an employee, I guess.
  7   Juhasz. We sat down and answered the questions that were    7       Q. And what was your position there? Did you have
  8   produced in the CID.                                        8   a title?
  9      Q. And did you have any documents to produce to          9       A. Well, I was put on the title as president,
 10   the Commission?                                            10   secretary, but it was used to -- to obtain credit card
 11      A. No.                                                  11   machine -- a merchant processing machine.
 12      Q. And do you have any documents with you here          12       Q. And a merchant processing machine is?
 13   today to produce to the Commission?                        13       A. To take credit cards for the business.
 14      A. Just the answers from -- from what Attorney          14       Q. And you said this was in 2008 that you were put
 15   Juhasz sent you.                                           15   on the documents for this corporation?
 16      Q. And that was already produced?                       16       A. Correct; yes.
 17      A. Okay. Yeah.                                          17       Q. And do you know who else worked for EMP Media,
 18      Q. So did you do anything to prepare for the            18   Inc.?
 19   hearing today? Did you --                                  19       A. Shad Applegate.
 20      A. Go ahead.                                            20       Q. Any others?
 21      Q. Did you review any other documents besides your      21       A. And later, like a year later, Burak Baskan, I
 22   interrogatory responses?                                   22   think, who I met once or twice.
 23      A. Oh, no.                                              23       Q. And on your interrogatory responses, you also
 24      Q. Did you speak with anybody about MyEx.com or         24   mentioned businesses associated with you. Were you
 25   EMP Media?                                                 25   previously associated with Global Computer Enterprises?

                                                           14                                                                16
  1      A. No.                                                   1       A. Yes. That's -- but there was no -- just
  2             MR. JUHASZ: Objection. Aside from his             2   opening up a corporation in Nevada. That was -- that's
  3   counsel?                                                    3   all it did. Nothing --
  4      Q. Aside from counsel.                                   4       Q. And who opened up the corporation in Nevada?
  5      A. Okay. No.                                             5       A. I did.
  6      Q. What is your educational background? I guess          6       Q. And what was the business?
  7   I'd like to ask a few questions. Beginning with high        7       A. Computer business.
  8   school, if you could explain your education background.     8       Q. Reselling computers?
  9      A. Yeah. Completed high school. I went on to             9       A. Correct.
 10   become an X-ray technician -- technologist. That was an    10       Q. And did you work with anyone on this business?
 11   Associate's degree. And then that's as far as education    11       A. No.
 12   wise.                                                      12       Q. So who were the customers for this business?
 13      Q. And are you currently employed?                      13       A. There was no -- I mean, like I said, it didn't
 14      A. Yes, I am.                                           14   do any business at all. I just opened up the corporation.
 15      Q. Where?                                               15       Q. Okay.
 16      A. At General Motors.                                   16       A. There was no --
 17      Q. And how long have you been employed there?           17       Q. And Mosquito -- were you previously associated
 18      A. Seventeen years.                                     18   with Mosquito Marketing, LLC?
 19      Q. And where did you -- did you have any previous       19       A. Yes, I was put on that corporation to -- to try
 20   employment previous to GM?                                 20   to obtain a merchant account for Mosquito.
 21      A. Cleveland Clinic for two years.                      21       Q. And was this a business you opened?
 22      Q. And what was your title there?                       22       A. No, I did not.
 23      A. X-ray technologist.                                  23       Q. Who opened this business?
 24      Q. And any employment prior to that?                    24       A. Eun E. Kim.
 25      A. I lived -- Imperial Palace in Las Vegas. I was       25       Q. Who is that?


                                                                                                          4 (Pages 13 to 16)
                                        For The Record, Inc.
                           (301) 870-8025 - www.ftrinc.net - (800) 921-5555
          Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 6 of 11
                                                            Infante
MyEx.com                                                                                                          3/28/2017
                                                            21                                                                23
  1      Q. And do you draw a salary related to this               1   created a company, and he, you know, asked me, do I want
  2   company?                                                     2   to be on this corporation, to try to get a merchant
  3      A. No.                                                    3   account. Because I had the good credit; he didn't. And
  4      Q. And what is the status of this company today?          4   then that's when he said, you know, he'll pay me a salary
  5      A. I think it's dissolved, I want to say.                 5   and also a car payment once a month. So I said, you know,
  6      Q. But your name was on corporate records at some         6   fine; sure.
  7   point related to Top Hat, Incorporated?                      7      Q. And when did that start, the arrangement where
  8      A. Yeah, I think so, yeah.                                8   you were getting a salary and a car payment for being on
  9      Q. You also put down the company VIP Host                 9   the --
 10   International, LLC. What is this company?                   10      A. Yeah, about '08, 2008. I can't recall what
 11      A. That's just -- was going to be used to -- for         11   month.
 12   VIP services in Las Vegas.                                  12      Q. And through what time did this -- did your --
 13      Q. What do you consider VIP services?                    13   were you part of the corporation that allowed EMP Media to
 14      A. They -- taking people to clubs or golfing or --       14   exist?
 15   that was the main purpose, you know. People coming to       15      A. As far as getting the salary or --
 16   Vegas, they like a chauffeur, more or less.                 16      Q. Sure, salaried.
 17      Q. And who did you work with to create this              17      A. Yeah, up until 2015, I want to say.
 18   company?                                                    18      Q. And why did it stop in 2015, the salary?
 19      A. Myself and Shad Applegate.                            19      A. It was -- I think the company dissolved. It
 20      Q. And what is the status of this company today?         20   was producing nothing. No income.
 21      A. It's doing nothing at all.                            21      Q. So your understanding is that EMP Media
 22      Q. Did you draw a salary related to VIP Host             22   dissolved, because it was no longer earning an income?
 23   International?                                              23      A. Correct.
 24      A. No.                                                   24      Q. Because it was no longer creating web sites and
 25      Q. Was anyone else associated with it besides you        25   advertising?


                                                            22                                                                24
  1   and Shad Applegate?                                          1       A. From what I -- yeah. From what I was told, you
  2       A. No.                                                   2   know, I -- I never -- you know, did anybody web sites or
  3       Q. So now I'd like to speak a bit more about EMP         3   -- for the company.
  4   Media. You mentioned having a merchant account related to    4       Q. Who told you that it was dissolving?
  5   it, and that you had the title over the years of             5       A. Shad Applegate.
  6   president, treasurer, secretary. How did those titles        6       Q. How did he tell you?
  7   relate to having a merchant account for EMP Media?           7       A. Probably through E-mail.
  8       A. Well, when you apply for a merchant account,          8       Q. Do you still work with or for anyone who worked
  9   they want to know, you know, how are you associated with     9   at EMP Media, Inc.?
 10   EMP Media. So I was put on as president, secretary,         10       A. No.
 11   director.                                                   11       Q. Who else worked at EMP Media?
 12       Q. And what can you tell me about EMP Media's           12       A. From what I recall, just them two, Shad and
 13   business?                                                   13   Burak.
 14       A. They are more creating web sites, advertising,       14       Q. Who was in charge of EMP Media?
 15   and marketing also.                                         15       A. I'd say day-to-day in Vegas was Shad Applegate.
 16       Q. And who does the creation of the web sites, the      16       Q. So you did not have any responsibilities for
 17   advertising, and the marketing?                             17   the day-to-day administration --
 18       A. From what I recall, Shad Applegate and Burak         18       A. No.
 19   Baskan. He was the IT, I guess, person.                     19       Q. -- of EMP Media?
 20       Q. And beyond marketing, ads, and web sites, were       20       A. No.
 21   there any other products or services that it provided?      21       Q. Did you ever visit EMP Media's offices?
 22       A. Not that I recall.                                   22       A. I'd say twice.
 23       Q. How did you come to be associated with EMP           23       Q. Can you describe the circumstances under which
 24   Media?                                                      24   you visited their offices?
 25       A. Well, I -- friends with Shad Applegate, and he       25       A. Just from -- just maybe going in, just seeing


                                                                                                           6 (Pages 21 to 24)
                                        For The Record, Inc.
                           (301) 870-8025 - www.ftrinc.net - (800) 921-5555
          Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 7 of 11
                                                              Infante
MyEx.com                                                                                                         3/28/2017
                                                             29                                                              31
  1   he call you or did you call him?                              1       Q. Do you know what his citizenship is?
  2      A. I had called him.                                       2       A. US citizen.
  3      Q. Why did you call him?                                   3       Q. And you're saying he likes to travel. Do you
  4      A. No, just to say that, hey, next Tuesday, that's         4   know where he travels to?
  5   the -- that's when I go for that Civil, you know,             5       A. I mean, throughout the -- throughout the world.
  6   Investigative Demand. So --                                   6   You know, different places.
  7      Q. And you called him -- did you call him on the           7       Q. Does he have a home address?
  8   phone number that you provided us as his phone number in      8       A. I believe -- I don't know exactly, but, I mean,
  9   your interrogatory responses?                                 9   I thought -- pretty sure Las Vegas.
 10      A. Yeah, I believe so.                                    10       Q. So when he's not traveling abroad, when he's in
 11      Q. Is there any other contact information you have        11   the United States, he's typically in Las Vegas?
 12   for him, besides the phone number and the E-mail address     12       A. Correct.
 13   that was the Gmail address you provided a few minutes ago?   13       Q. Where did you see him when you last saw him two
 14      A. No.                                                    14   to three years ago?
 15      Q. Do you know where he was when you spoke with           15       A. Las Vegas.
 16   him on the phone?                                            16       Q. Where specifically in Las Vegas?
 17      A. No.                                                    17       A. I think he picked me, you know -- where did I
 18      Q. And prior to speaking to him a week ago,               18   stay at? Oh, boy. I think I stayed at the Mirage, and he
 19   previous to that, when was the last time you had             19   picked me up, and we went out for dinner and drinks.
 20   communicated with him?                                       20       Q. Has he gone by any other names that you know
 21      A. Maybe a month or so, maybe through E-mail              21   of?
 22   conversation.                                                22       A. No.
 23      Q. And is that content of your other                      23       Q. Does he have a significant other at this time?
 24   communications related to business or personal or?           24       A. Not that I know.
 25      A. Just, yeah, probably personal, you know.               25       Q. Do you know anyone else who knows him or knows

                                                             30                                                              32
  1      Q. You consider him a friend, and you communicate          1   where he is?
  2   to catch up about life and other things?                      2      A. No.
  3       A. Yeah; yeah.                                            3      Q. Is there any other information you have about
  4      Q. How often do you speak with him on the phone?           4   him that would help us locate him?
  5       A. Oh, maybe -- maybe once a month, I'd say.              5      A. No.
  6      Q. And prior to a week ago, had you told him about         6      Q. Do you know an individual by the name of Jason
  7   our investigations and prior attempts to meet with you        7   Fisher?
  8   about EMP Media, Inc.?                                        8      A. Yes.
  9       A. Correct; yeah. I do, yeah.                             9      Q. Who is he?
 10      Q. And what was his reaction when you first told          10      A. If I understand, he was the corporate attorney
 11   him about our investigation?                                 11   for EMP Media.
 12       A. That it's -- you know, they're going to ask you       12      Q. And how long have you known Jason Fisher?
 13   questions, I guess, or -- I don't know if he knew, but he    13      A. Probably about three years now.
 14   just said, I mean, maybe you do have to go, I mean, to       14      Q. When did you first meet him?
 15   answer the question because you're on the corporation, you   15      A. Probably about three years ago. At the same
 16   know, so --                                                  16   time when I went out and saw Shad, we -- we went to
 17      Q. When was the last time you saw him in person?          17   Jason's.
 18       A. It's probably been about two or three years           18      Q. And where was Jason's?
 19   ago.                                                         19      A. Jason's house. In Las Vegas.
 20      Q. What is Shad Applegate's nationality?                  20      Q. And what was his role at EMP Media?
 21       A. Oh, boy. I think he told me Belgium. Put              21      A. He was the corporate attorney. That's what I
 22   Belgium, Belgiumese.                                         22   was led to believe.
 23      Q. He was born in Belgium?                                23      Q. What services did he provide for EMP Media?
 24       A. No, I don't think he was born in Belgium. But         24      A. Oh, I -- you know, lawyer services. I --
 25   as far as, like I'm Italian. I wasn't born in Italy.         25   that's all I know.


                                                                                                           8 (Pages 29 to 32)
                                         For The Record, Inc.
                            (301) 870-8025 - www.ftrinc.net - (800) 921-5555
          Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 8 of 11
                                                            Infante
MyEx.com                                                                                                          3/28/2017
                                                            33                                                                35
  1      Q. Do you still have a relationship or have you           1   Midway down, it states, I helped Shad Applegate set up the
  2   been in contact with Jason Fisher in the last year?          2   company, and he used my name and credit to obtain credit
  3       A. Yes. I sent him also this Civil Investigative         3   card processing. Beyond that, I had --
  4   Demand.                                                      4            MR. JUHASZ: I'm sorry, where are you,
  5      Q. Why did you send the CID to Jason Fisher?              5   please?
  6       A. Because it dealt with EMP Media. And he's the         6      Q. Page 5.
  7   corporate lawyer.                                            7            MR. JUHASZ: Yeah, what --
  8      Q. And had you met with him regularly in your             8      Q. Midway down the page.
  9   capacity as president or treasurer or interacted with him    9            MR. JUHASZ: Oh, the answer to Interrogatory
 10   in that capacity about EMP Media?                           10   No. 5?
 11       A. No, just -- I just, like I said, knew that he        11      Q. 5A.
 12   was the corporate lawyer.                                   12            MR. JUHASZ: Okay. See it, Neil, 5A?
 13            MS. COX: Could we go off the record?               13      A. Yeah. Okay.
 14       (Discussion off the record)                             14      Q. What do you mean that you helped Shad Applegate
 15      Q. I've handed you a document that has been marked       15   set up the company?
 16   as Exhibit 2. Please review this document. Do you           16      A. As far as, like, when you set up a corporation,
 17   recognize this document?                                    17   you have to put down a president, secretary, CEO, through
 18       A. Yes, I do.                                           18   Las Vegas, you know, Secretary of State. So he -- that's
 19      Q. What is it?                                           19   what he was telling me. He was using my name to put it
 20       A. It's my responses to the Civil Investigative         20   on. Then we're going to go after a merchant account.
 21   Demand.                                                     21      Q. Did you receive any mail or other
 22      Q. Please turn to Page 4 of the document.                22   communications in incorporating the corporation?
 23       A. Okay.                                                23      A. No, not --
 24      Q. Midway down the page, it states, based upon           24      Q. Anything else related to how the corporation
 25   information furnished to respondent by Shad Applegate,      25   was incorporated that we should know about?

                                                            34                                                                36
  1   respondent believes that Mr. Applegate maintained a web      1       A. No.
  2   site known as Erotic MP; do you see that?                    2       Q. Were you ever contacted related to the credit
  3       A. Yes.                                                  3   card processing account?
  4       Q. What information led you to believe that Mr.          4       A. No. I think they would just -- I filled out
  5   Applegate maintained this web site? Did Mr. Applegate        5   paperwork, you know, putting my name, Social Security
  6   tell you that?                                               6   number.
  7       A. Oh, yes.                                              7       Q. What paperwork did you fill out?
  8       Q. When did Mr. Applegate tell you that?                 8       A. Oh, boy. It would be like an application.
  9       A. Probably '08 or '09.                                  9       Q. And who was the application submitted to?
 10       Q. And why did this web site exist?                     10       A. Oh, boy. I -- I don't recall. It's been that
 11       A. From what I understand, it's just marketing for      11   long.
 12   different massage parlors and clubs.                        12       Q. Did you keep a copy of the application?
 13       Q. Does it still exist today?                           13       A. No, I don't think I did.
 14       A. Not that I know of, no.                              14       Q. And for credit card processing, why would EMP
 15       Q. Were you ever on any documents related to            15   Media, Inc., need a credit card processor?
 16   Erotic MP?                                                  16       A. From what I recall, it's if people want to
 17       A. I think it was associated with EMP Media, so         17   advertise on Erotic MP or if they want to -- another thing
 18   that's how I was on as the president, yeah.                 18   is they buy and sell advertising to -- kind of like
 19       Q. Okay. And do you know if Erotic MP was related       19   Google. They buy advertising, then they sell it to
 20   to MyEx.com?                                                20   different sites to make them -- how is it put, to make
 21       A. No.                                                  21   them -- to make them number one on a certain page, or a
 22       Q. It was not associated with MyEx or you don't         22   Google page.
 23   know?                                                       23       Q. So a high search response results?
 24       A. Yeah, I don't know, I guess.                         24       A. Yeah; correct; yes.
 25       Q. Okay. Please turn to Page 5 of the exhibit.          25       Q. Thank you. Do you know a person by the name of


                                                                                                            9 (Pages 33 to 36)
                                        For The Record, Inc.
                           (301) 870-8025 - www.ftrinc.net - (800) 921-5555
          Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 9 of 11
                                                            Infante
MyEx.com                                                                                                          3/28/2017
                                                            37                                                                39
  1   James Lynch?                                                 1   don't know if she was, you know -- I assume she was living
  2       A. No.                                                   2   there. That's, you know --
  3       Q. If you flip back to Page 4 of your response.          3      Q. And do you know, does she travel abroad?
  4   At the bottom, the answer to No. 4 B in response to          4      A. No, I don't know that, no.
  5   asking, identify the individuals who have provided           5      Q. Do you know anything about Diro Media, LLC?
  6   services for the web site. You replied, respondent has no    6      A. No.
  7   firsthand knowledge of any individuals who provided          7      Q. D-I-R-O Media? Do you know of the company Web
  8   services for the web site. Respondent on one or two          8   Traffic Networks?
  9   occasions met Burak Baskan, who was described as the         9      A. No.
 10   corporate IT guy. What were the circumstances of the        10      Q. Do you know of the corporation T and A Media,
 11   meeting in which you met Burak Baskan?                      11   Incorporated?
 12       A. Oh, just -- just from Shad telling me he's my,       12      A. No.
 13   you know, information technology, IT, you know.             13      Q. Do you know of the corporation Hot Media,
 14       Q. Where were you when you met Burak Baskan?            14   Limited?
 15       A. At the office in Las Vegas.                          15      A. I mean, that I do recall.
 16       Q. Was anyone else there besides you and Shad and       16      Q. What do you know about Hot Media, Limited?
 17   Burak Baskan?                                               17      A. I think Shad had mentioned he had purchased a
 18       A. No, I don't recall, no.                              18   domain name, Hot.com. And that maybe -- maybe Hot Media
 19       Q. And was this three years ago?                        19   and them are together or -- that's about it on that.
 20       A. This was probably about five.                        20      Q. And when did Shad mention that he bought
 21       Q. And do you know where Burak Baskan is today?         21   Hot.com?
 22       A. No.                                                  22      A. This was about three years ago, I want to say.
 23       Q. Do you have any way of contacting Burak Baskan?      23      Q. Do you know of ADT Search Media?
 24       A. No.                                                  24      A. No.
 25       Q. You said he was the IT guy. Do you know              25      Q. Do you know about Internet Secrets, LLC?

                                                            38                                                                40
  1   anything else about his duties related to Erotic MP,         1       A. No.
  2   MyEx.com, or EMP Media?                                      2       Q. When you spoke to Shad Applegate a week ago,
  3       A. No.                                                   3   did you mention to him that the FTC was trying to locate
  4       Q. Do you know a person by the name of Dena Renee        4   him or did he mention to you that the FTC was trying to
  5   Wright?                                                      5   locate him?
  6       A. No.                                                   6       A. No.
  7       Q. Or Dean Renee Wright?                                 7       Q. Do you know where Shad Applegate works now?
  8       A. No.                                                   8       A. No. I mean, probably his own companies, you
  9       Q. Do you know a person by the name of Bogden            9   know. I don't --
 10   Prunes?                                                     10             MR. JUHASZ: Okay. Wait. Don't say
 11       A. No.                                                  11   probably. You either know where he works or you don't.
 12       Q. Do you know a person by the name of B -- or          12   If you do, tell her.
 13   first initial B. Lambert?                                   13       A. Yeah. No, I don't know.
 14       A. No.                                                  14       Q. Do you have any idea about how he makes money
 15       Q. And you've mentioned a person, Eun E. Kim,           15   to travel and pay his bills?
 16   earlier today?                                              16       A. No.
 17       A. Uh-huh.                                              17       Q. I've handed you a document that has been marked
 18       Q. Do you know where Eun Kim is today?                  18   as Exhibit 3. Please review the document. As you can
 19       A. No, I do not.                                        19   see, this is a document from the Nevada Secretary of
 20       Q. Do you have any way of being in touch with Eun       20   State, and it is regarding EMP Media, Inc. Do you see
 21   Kim?                                                        21   that this is reflecting Secretary of State records related
 22       A. No.                                                  22   to EMP Media, Inc.?
 23       Q. Do you know what state Eun Kim lived in when         23       A. Yes.
 24   you met her?                                                24       Q. Do you see where it lists you as the registered
 25       A. I don't know what -- I met her in Vegas. I           25   agent?


                                                                                                          10 (Pages 37 to 40)
                                        For The Record, Inc.
                           (301) 870-8025 - www.ftrinc.net - (800) 921-5555
          Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 10 of 11
                                                             Infante
MyEx.com                                                                                                            3/28/2017
                                                             41                                                                  43
  1       A. Yes.                                                   1   no.
  2      Q. Have you ever been served papers in this                2      Q. Did Shad Applegate provide you this paperwork
  3   capacity as the registered agent for EMP Media, Inc.?         3   to complete?
  4       A. Served papers as -- I don't understand.                4       A. Yes.
  5      Q. In any capacity of EMP Media, Inc., being sued          5      Q. If you turn to Page FTC-EX-0005.
  6   or any official business related to EMP Media?                6            MR. JUHASZ: Neil, do you see the little
  7       A. Not me personally, no.                                 7   Bates numbers down there?
  8      Q. And do you see where it lists officers of               8       A. Yes.
  9   secretary, president, treasurer, and director? It lists       9      Q. The name Burak Baskan is listed as president;
 10   your name --                                                 10   do you see that?
 11       A. Yes.                                                  11       A. Yes.
 12      Q. -- Aniello Infante?                                    12      Q. Do you know why he was listed as president?
 13       A. Yes.                                                  13       A. No, I do not.
 14      Q. And did you have any day-to-day duties in any          14      Q. Did you communicate with anyone about the
 15   of these capacities?                                         15   changes of roles that occurred?
 16       A. No.                                                   16       A. No.
 17      Q. And do you see the address of 6130 Flamingo            17      Q. If you flip to Page FTC-EX-00011, you'll see
 18   Road, No. 732, Las Vegas, Nevada?                            18   that Shad Applegate is listed as president, secretary,
 19       A. Yes.                                                  19   treasurer, and director; do you see that?
 20      Q. Do you know that to be the corporate address of        20       A. Yes.
 21   EMP Media, Inc.?                                             21      Q. Do you know why these change in roles occurred
 22       A. Yes.                                                  22   on the corporate papers?
 23      Q. Do you know of any other way to contact                23       A. No, I do not.
 24   anybody -- Shad Applegate or any other corporate officers    24      Q. Were you informed of these changes?
 25   of EMP Media, Inc.?                                          25       A. No.

                                                             42                                                                  44
  1       A. No. Just by attorney, I'd say, Jason Fisher.           1       Q. Did it in any way impact the salary of $1,000 a
  2       Q. And is there any documents you would have to           2   month and the monthly car payments you received?
  3   identify any other places of business at which EMP Media,     3       A. No.
  4   Inc., operated at?                                            4       Q. Please flip to Page 12. Do you see the name
  5       A. No, I don't.                                           5   Dena Renee Wright listed as president?
  6       Q. I've handed you a documented that has been             6       A. Yes.
  7   marked as Exhibit 4. Please review this document. So as       7       Q. Does this refresh your memory about who this
  8   you can -- have you had a chance to review it?                8   person might be?
  9       A. Correct; yes.                                          9       A. No. Never met her.
 10       Q. As you can see, this is a document from the           10       Q. Have you ever heard of her?
 11   Nevada Secretary of State, and it concerns EMP Media, Inc.   11       A. Just through, you know, these -- these demands
 12   If you turn to Page 3, the Articles of Incorporation,        12   that you sent, yeah.
 13   FTC-EX-3.                                                    13       Q. Okay. If you flip to Page 14, please, of this
 14       A. Okay.                                                 14   exhibit. You'll see the name Bogden Prunes, listed as
 15       Q. You'll see that's your name listed as                 15   president?
 16   president; correct?                                          16       A. Uh-huh.
 17       A. Correct; yes.                                         17       Q. And the address of                             . Does
 18       Q. And is this your signature at the bottom?             18   this refresh your memory about who this person is?
 19       A. Yes.                                                  19       A. Yeah. No, never met him.
 20       Q. And this was in August of 2008. Where did             20       Q. And on Page 15 of this Exhibit, B. Lambert is
 21   you -- do you remember where you completed this paperwork?   21   listed as president, secretary, treasurer, and director.
 22       A. I might have --                                       22   Does this refresh your recollection at all --
 23            MR. JUHASZ: Don't say you might have. You           23       A. No.
 24   either remember or you don't.                                24       Q. -- of who this would be?
 25       A. Yeah. I don't remember where I completed it,          25       A. No.


                                                                                                            11 (Pages 41 to 44)
                                         For The Record, Inc.
                            (301) 870-8025 - www.ftrinc.net - (800) 921-5555
          Case 2:18-cv-00035-APG-NJK Document 28-24 Filed 06/14/18 Page 11 of 11
                                                             Infante
MyEx.com                                                                                                           3/28/2017
                                                             45                                                                47
  1      Q. And if you flip to Page 18, please, of the              1       A. No, I actually didn't.
  2   exhibit. Your name is back to being listed as president,      2       Q. Are you now aware that it is a web site that
  3   secretary, treasurer, and director. Is that your              3   posts pictures and personal information about consumers
  4   signature at the bottom of this Page 18?                      4   that are submitted by other consumers?
  5      A. No, that is not.                                        5       A. From -- yeah, from reading the demand.
  6      Q. Were you aware of these changes being made when         6       Q. And do you know that these pictures often
  7   you were listed back as a corporate officer?                  7   include nude images or sexually explicit images?
  8      A. No, I wasn't aware.                                     8       A. From reading that, yes.
  9      Q. Do you know who filed this document?                    9       Q. I've handed you an exhibit marked 5. And I'll
 10      A. No, I do not.                                          10   represent that this is the landing page for MyEx.com, as
 11      Q. Please flip to Page 21 of the exhibit. The             11   captured by the Wayback machine for December 11th, 2012.
 12   certificate of dissolution. Is that your signature at the    12   And you might see that there's some images that have been
 13   bottom where it was dated July 7th, 2016?                    13   not loaded or populated on this representation, but that
 14      A. No, that's not my signature.                           14   it has different entries of submissions.
 15      Q. Do you read that to be your name?                      15       A. Uh-huh.
 16      A. I don't -- in a way, a little bit, but, I just         16       Q. And you haven't seen this web site before?
 17   knew that it was being dissolved; that's all.                17       A. No.
 18      Q. And it says there's a filing fee of $100;              18       Q. I've handed you an exhibit that has been marked
 19   correct, at the bottom here?                                 19   Exhibit 6. Please review this document. Have you had an
 20      A. Yeah.                                                  20   opportunity to review it?
 21      Q. Did you pay that $100 or no?                           21       A. Yes.
 22      A. No.                                                    22       Q. And is this the privacy policy for MyEx.com?
 23      Q. So you knew the company was going to be                23       A. I --
 24   dissolved?                                                   24       Q. Or I will represent that it is the privacy
 25      A. Yeah.                                                  25   policy listed on MyEx.com for a period of time, including


                                                             46                                                                48
  1       Q. How did you know it?                                   1   as the Wayback machine memorialized as December 31st,
  2       A. Through a conversation probably with Shad,             2   2012, which is in the upper right-hand corner. Do you
  3   saying that the company -- Shad Applegate, being resolved.    3   recognize this document?
  4       Q. And does this refresh your recollection about          4      A. No.
  5   when that conversation occurred?                              5      Q. Do you see on the first line under MyEx privacy
  6       A. Probably around -- yeah, around that time.             6   policy, that it states EMP Media, Inc., DBA, MyEx, has
  7   Maybe June '16.                                               7   created this privacy statement in order to demonstrate its
  8       Q. And was any reason beyond the company no longer        8   commitment to customer privacy?
  9   being profitable provided for why?                            9      A. Yes.
 10       A. Yeah, just dissolving the company.                    10      Q. Do you know who would have drafted this
 11       Q. Were there assets that EMP Media had in its           11   document for EMP Media, Inc.?
 12   name when the dissolution occurred?                          12      A. No.
 13       A. No.                                                   13      Q. And that is the business you're president,
 14            MR. JUHASZ: No, or do you know?                     14   secretary, treasurer, and director of; correct?
 15       A. I don't know, but, you know --                        15      A. Yes.
 16       Q. Okay. Go off the record, please.                      16      Q. Does this refresh your recollection about
 17       (A recess was taken)                                     17   whether EMP Media ever controlled MyEx.com?
 18       Q. Back on the record, please. Mr. Infante, are          18      A. No; no.
 19   you familiar with a web site called MyEx.com?                19      Q. Who would know about this?
 20       A. No, I'm not.                                          20      A. I would say Burak Baskan and Shad Applegate.
 21       Q. Have you ever visited the web site, MyEx.com?         21   Because it just says has created this privacy statement.
 22       A. No.                                                   22   That's -- I mean, that's all I see it as.
 23       Q. When you received the Civil Investigative             23      Q. Do you know who at the company would have
 24   Demand that mentions MyEx.com, did you Google it or search   24   written this privacy policy?
 25   it?                                                          25      A. Who -- I'm sorry. Repeat the question.


                                                                                                           12 (Pages 45 to 48)
                                         For The Record, Inc.
                            (301) 870-8025 - www.ftrinc.net - (800) 921-5555
